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1                                               THE HONRABLE BARBARA J. ROTHSTEIN

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5
                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
6                                      AT TACOMA

7     WILLIAM J. MOFFORD,                           Case No. 3:23-cv-5723-BJR
                            Plaintiff,              ORDER GRANTING UNOPPOSED
8                                                   MOTION TO EXTEND THE
      v.                                            DEADLINE TO COMPLETE
9                                                   DISCOVERY
      BNSF RAILWAY COMPANY, a Delaware
      corporation,
10
                            Defendant.
11
            This matter comes before the Court upon the Unopposed Motion to Extend the Deadline
12
     to Complete Discovery. And the Court, having found good cause,
13
            IT IS SO ORDERED, that the deadline to complete discovery is extended to September

14   5, 2024

     Dated this 25th day of July, 2024.
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                                                      A
                                                      Barbara Jacobs Rothstein
                                                      U.S. District Court Judge
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